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                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA



STATE OF MISSOURI, et al.,

                Plaintiffs,

        v.                              Case No. 2:24-cv-00103-JRH-BWC

UNITED STATES DEPARTMENT OF
EDUCATION, et al.,

                Defendants.




                              Exhibit 1
                Declaration of James Kvaal




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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA



 STATE OF MISSOURI, et al.,

                        Plaintiffs,

           v.                                           Case No. 2:24-cv-00103-JRH-BWC

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                        Defendants.


                           DECLARATION OF JAMES RICHARD KVAAL

        I, James Richard Kvaal, do declare under penalty of perjury and pursuant to 28 U.S.C. § 1746,

that the following is true and accurate:

        1. I am the Under Secretary of Education at the United States Department of Education

            (Department). My nomination for this position was confirmed by the United States Senate

            on September 14, 2021, and I was sworn in on September 15, 2021. As the Under Secretary

            of Education, my responsibilities include the coordination of major policies, programs,

            and activities related to federal student aid. This includes, but is not limited to, providing

            executive oversight of FSA operations.         As such, I am familiar with the Change

            Management Process, including the change request process regarding our contracts with

            our loan servicers and default management service provider. I make this declaration based

            on my personal knowledge and based on information provided to me in my official

            capacity.

The Department of Education and Loan Servicers

        2. To administer its portfolio of student loans relevant to this case, the Department has

            contracts with six loan servicers: five servicers under Unified Servicing and Data Solution

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         contracts and one servicer of Perkins loans. In addition, the Department contracts with

         one default management service provider.

      3. These servicers and service provider together manage a portfolio of loans involving over

         42 million borrowers and 1.4 trillion dollars.

      4. The Department’s loan servicers are responsible for, among other tasks, corresponding

         with borrowers, collecting and processing payments, processing discharges, and tracking

         loan amounts paid and owed.

      5. The Department’s contracts with its servicers contain binding terms that govern the

         servicers’ performance obligations.

The Change Request Process

      6. To begin the process of changing a servicer’s contractual performance obligations, the

         Department includes a specific process in its contracts, including its servicer contracts:

         the change request process. This process is used to modify the contractual relationship

         between the Department and servicer, and this process does not itself create legal

         obligations or required actions for either the Department or servicer regarding a

         borrower’s loan account.

      7. The change request process follows several steps:

             a. First, in issuing a change request, the Department identifies changes to the

                 contract it seeks to implement with the servicer.

             b. Next, in response to a change request, the servicers conduct an “Impact Analysis”

                 (IA) that proposes a rough estimate of hours to perform the changes and an

                 implementation plan, including where the proposed changes require significant

                 modification of loan data systems and a test plan to ensure the viability and




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            effectiveness of the proposed changes. The IA provides insight into potential

            technical solutions and the estimated costs of implementing the proposed changes.

        c. Next, the Department reviews the IA and discusses the assumptions and levels of

            effort with the servicers to ensure mutual understanding of the efforts required.

            Sometimes these discussions result in multiple revisions to the IA and

            requirements.

        d. Then, the final revised IA is evaluated (and approved or declined) by the Change

            Management Work Group within the Department through a standardized review

            process.

        e. Once the IA is approved and funding is committed, the Department requests a

            cost and updated technical proposal that generally includes the anticipated date by

            which the contractor will be ready to execute the requirements (referred to in the

            Change Management Process as an “implementation date”). The proposal is then

            reviewed, and the Department negotiates with the servicer. The Department may

            accept, reject, and/or propose additional changes as part of negotiations when it

            receives the servicer’s proposal.

 8. Often, the change request process includes multiple iterations of exchanges of the sort

    identified above, in which the Department refines its implementation goals and the

    servicers further assess their capabilities.

 9. If the Department opts to implement a change following the change request process, it

    memorializes the agreement through a bilateral modification to its contract.

 10. At any time during the change request process, the Department may decide not to

    implement any changes.




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 11. The change request process allows the Department to determine the extent of the changes

    to be made and the timing for the implementation of the changes, as well as to negotiate

    a fair and reasonable price.

 12. The change request process generally does not require a servicer to take a particular action

    with respect to any loan account, even after contract modification is complete. Rather, the

    servicer must complete various phases of Department review and await further

    Department instructions before taking action pursuant to a modification, including

    discharging a loan. Specifically, even after the change request leads to a contract

    modification:

        a. The servicer must produce “validation artifacts,” which serve to confirm the

            servicer’s ability to execute the contractual changes before those changes are

            eventually (if ever) implemented on borrowers’ accounts. The Department

            carefully reviews such validation artifacts before determining whether any further

            steps should be taken. This process usually lasts several weeks.

        b. The servicer must complete “Inter-System Testing” (IST) to assess their readiness

            to implement the change request. This is an exchange of mock data files between

            and among those relevant systems involved in the change request to ensure that

            each working group involved in loan servicing (whether within the Department or

            within the servicer) is technically able to send and receive relevant information.

        c. In the change request the Department sends to servicers at the beginning of the

            process, see supra paragraph 7, the Department identifies an anticipated

            implementation date and identifies due dates for deliverables or data that a servicer

            would provide if a contract modification occurs, including results from any testing.




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Change Request 7037 and the Student Debt Relief Notice of Public Rulemaking (“NPRM”)

           13. In anticipation of promulgating final rules stemming from its April 2024 Student Debt

               Relief Notice of Proposed Rulemaking (NPRM), 1 the Department issued (among other

               change requests) Change Request 7037 (“CR 7037”), which is attached to the complaint

               as Exhibit D.

           14. The Department issued CR 7037 to ensure that its servicers possessed the capability to

               execute actions necessary to a smooth implementation of the regulations identified in the

               NPRM, in the event that those regulations were finalized, and only after the Department

               began to provide production files to them.

           15. The Department sent CR 7037 to servicers on May 6, 2024.

           16. CR 7037 identifies a series of tasks the Department contemplated requiring servicers to

               be able to perform as of a target implementation date.

           17. The target date for servicers to be able to implement at CR 7037 was September 1 for

               Measures 1, 2, and 3. These measures referred to different types of debt relief identified

               in the NPRM. Specifically, Measure 1 refers to forgiveness when the current balance

               exceeds the original principal balance under proposed 34 C.F.R. §§ 30.81 and 30.82.

               Measure 2 refers to forgiveness after 20 or 25 years under proposed 34 C.F.R. § 30.83. And

               Measure 3 refers to forgiveness in situations where the borrower was eligible for

               forgiveness under an IDR plan but did not apply for an IDR plan, under proposed 34

               C.F.R. § 30.84.

           18. In general, and in CR 7037 in particular, the dates identified for implementation and testing

               in a change request are necessarily tentative. In fact, as described at paragraph 7, supra, as

               part of the change request process, servicers are required to provide proposed


1
    See 89 Fed. Reg. 27564.

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    implementation dates, and the Department negotiates implementation dates prior to the

    finalization of any contract modification. The implementation date is frequently changed

    based on events occurring during the change request process prior to contract

    modification.

 19. The target implementation dates in CR 7037 represent the Department’s estimated date

    by which it intended to require the servicers to be prepared to issue loan forgiveness. Such

    estimates are necessary in order to allow the servicers to plan their own operations, and to

    permit them to make accurate cost estimates. However, because a contract modification

    and subsequent instructions from the Department are necessary before any proposed

    contract changes actually affect borrowers’ accounts, an “implementation date” in a

    change request does not necessarily reflect the date when the Department will actually take

    action (or even intends to take action) under any eventual contract modification. In the

    case of CR 7037, the target implementation date represented the Department’s initial

    estimate of when it intended servicers to be able to begin work under the proposed

    changes, if at all.

 20. Similarly, although the phrasing of CR 7037 is stated in the form of requirements for a

    servicer to follow (including use of the word “shall”), a change request—including CR

    7037—in fact simply notifies the servicers of proposed tasks so that the servicers may

    prepare for and assess the costs of implementing the changes. That language alone does

    not, in fact, obligate (or even permit) a servicer to carry out any changes, including, in CR

    7037, issuing any forgiveness of loan balances.

 21. In addition, the development of systems specified in CR 7037 does not preclude the

    Department from issuing subsequent change requests to change parameters of the original

    request as it finalizes any proposed rules stemming from the NPRM, which ultimately


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          could—through a subsequent contract modification—further modify the specific terms

          for providing forgiveness. In other words, conducting a change request process, along with

          a subsequent contract modification, is not inconsistent with a genuine deliberative process

          that takes account of public input and permits flexibility prior to a rule’s finalization.

CR 7037 and the Inter-System Testing process

      22. Consistent with the process identified above, supra paragraph 12, CR 7037 envisioned that

          the servicers would conduct IST to assess their readiness to implement CR 7037.

      23. CR 7037 forecast that IST would begin on August 8, 2024. See Exhibit D to the Compl.

          at 1.

      24. In fact, IST under CR 7037 began on August 14, with a kick-off call and test plan to set

          expectations among servicers, as well as to document specific actions to be taken to test

          each servicer’s loan data systems (with due dates).

      25. The IST process associated with CR 7037 was delayed several times because of system

          readiness issues and necessary updates. For example, Exhibit E shows a communication

          sent from the Department to servicers notifying them of a forthcoming updated IST

          schedule and instructing them to complete certain tests within three days of receiving test

          discharge files.

      26. CR 7037 identifies (at page 2) dates on which the Department anticipated requiring testing

          results, including User Acceptance Testing (UAT) documentation, a sample operational

          report, a draft borrower notification (to ensure compliance with a Department-provided

          template), and a statement indicating the servicer’s compliance with the Department’s

          requirements (to demonstrate its ability to implement an eventual change).

      27. Exhibit G to the Complaint is an example of a communication between the Department

          and servicers amid IST during a change request. The email shows that the Department


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            intended to require servicers to adhere to the testing deadlines it had originally set, in

            anticipation of the publication of a final rule later this year.

Terminology and Department Communications:

        28. Many of the terms used in CR 7037 and the Department’s exchanges with servicers have

            specific technical definitions and carry a particular meaning in the context of the change

            request and contract modification process. For example:

                 a. The term “artifacts,” as seen on page 2 of CR 7037, refers to the results of tests

                     and other documentation the Department requests during and after the servicer

                     system development to ensure changes are in accordance with the change request

                     process.

                 b. Servicers share IST results through the Student Aid Internet Gateway (SAIG,

                     referred to on page 4 of CR 7037), one of the secure file-sharing systems used by

                     the Department.

                 c. “PRR” as used in the email attached as Exhibit G, refers to a “Production

                     Readiness Review.” A PRR is a formal meeting that must take place prior to the

                     implementation of a change request that results in a major system enhancement.

        29. The Department has also had communications with borrowers related to the Student Debt

            Relief rulemaking. Exhibit C contains an opt-out email sent to borrowers to inform them

            of the Department’s plans to finalize regulations in the Student Debt Relief rulemaking,

            and to enable them to opt out of that anticipated benefit if they chose. The contents of

            this email were also publicly shared on FSA’s website. 2




2
 See https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2024-08-06/update-student-
debt-relief-opt-out-communications.

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Current Status of CR 7037

      30. As of the date the Court entered a temporary restraining order, CR 7037 had already been

          modified into the contract and system development and testing was ongoing. The

          Department was still required, however, to complete additional stages of testing, review,

          and analysis before making any decision on whether or not to issue forgiveness on any

          borrower account and on what terms.

      31. The same day the Court entered a temporary restraining order, the Department issued

          stop work orders to its servicers, instructing them to immediately cease all activity related

          to CR 7037 (and also issued stop work orders for a related CR, CR 7109, which appears

          in Exhibit L to the Complaint).

      32. No final rules have been published in the Student Debt Relief rulemaking.

      33. The Department has not discharged any loans pursuant to the authorities it proposed in

          its April 2024 Student Debt Relief NPRM, either before or after entry of the temporary

          retraining order. Nor has it instructed servicers to discharge any loans, either before or

          after the entry of the temporary restraining order.

      34. Absent the temporary restraining order, the Department would not have issued

          forgiveness specified in the proposed rules without first finalizing the rules.

      35. If the Department decides (and is permitted by any court order then in effect) to proceed

          with issuing debt forgiveness after the promulgation of a final rule, it would first need to

          instruct the servicer to provide forgiveness by providing to the servicer a “production file,”

          which includes relevant loan information and specific instructions to the servicer to

          implement the change.




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  36. A production file with corresponding instructions to take action after a contract

     modification is finalized is distinct from a test file, which is used to ensure system

     interoperability during development.

  37. Even if the rules were finalized, the Department would not implement proposed 34 C.F.R.

     § 30.84, which proposes to authorize relief for borrowers who are eligible for forgiveness

     under an income-driven repayment plan but who are not enrolled in such a plan, while

     forgiveness under any such plan itself is enjoined (as is the case under the Eighth Circuit’s

     injunction in Missouri v. Biden, Nos. 24-2332 and 24-2351).




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